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     [Counsels for Defendants listed on following page]
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10                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
11
     SHERYN CAMPRONE,                         Case No: 2:16-cv-00885-R-JC
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            Plaintiff,
13                                            NOTICE OF SETTLEMENT
            v.                                AND STIPULATION TO
14                                            VACATE ALL PENDING
15   CITY OF LOS ANGELES, Police              DATES; [PROPOSED] ORDER
     Officers CLIFFORD PROCTOR,
16   JONATHAN KAWAHARA, Police                Pre-trial Conference:
     Chief CHARLIE BECK, in his               Date: January 9, 2017
17   individual and official capacity; and    Time: 11:00 a.m.
     DOES 1-10, inclusive,                    Crtrm: 8
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            Defendants.                       Trial: February 7, 2016
19                                            Time: 9:00 a.m.
                                              Crtrm: 8
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     NOTICE OF SETTLEMENT AND STIPULATION TO VACATE ALL PENDING DATES; [PROPOSED]
                                       ORDER.
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     OFFICER JONATHAN KAWAHARA
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     NOTICE OF SETTLEMENT AND STIPULATION TO VACATE ALL PENDING DATES; [PROPOSED]
                                       ORDER.
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 1   TO THE CLERK OF THE COURT:
 2         Please take notice that the Parties have reached a settlement, pending City
 3   Council and Mayor approval, to resolve any and all claims in this lawsuit.
 4         This matter was filed in this Court on February 9, 2016. A state court case on
 5   behalf of Mr. Glenn’s son and the Estate of Brendon Glenn was also filed on
 6   February 9, 2016. The Parties agreed to participate in mediation, which was set for
 7   September 13, 2016. Due to the nature of the issues in this case, the Parties agreed
 8   to defer discovery until the conclusion of the scheduled mediation.
 9         On September 13, 2016 the parties agreed to a full settlement and
10   compromise of the action in the sum of $4 million dollars which will be paid with
11   a Stipulated Judgment against the City of Los Angeles only. The Parties will attend
12   a hearing on the petition to confirm the minor’s compromise in state court on
13   November 18, 2016. Due to circumstances beyond the control of either party, the
14   City Council is unable to issue a decision on this matter until early December 2016.
15         The Parties therefore respectfully request that all deadlines, including the
16   December 12, 2016 discovery deadline, and jury trial currently set for February 7,
17   2017 be taken off calendar. Attached as “Exhibit A” is a fully executed Stipulation
18   for Settlement.
19
20   Respectfully submitted,
21
22
     Date: November 17, 2016                      By: /s/ V. James DeSimone
23                                                    V. JAMES DESIMONE, ESQ.
                                                      KAVEH NAVAB, ESQ.
24                                                    JOHN RALPHING, ESQ.
25                                                     Attorneys for Plaintiff,
26                                                     SHERYNE CAMPRONE,
                                                       Mother of deceased
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     NOTICE OF SETTLEMENT AND STIPULATION TO VACATE ALL PENDING DATES; [PROPOSED]
                                       ORDER.
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     Date: November 17, 2016     By: /s/ Colleen R. Smith, Esq. (authorized via email)
 1                                                   MICHAEL N. FEUER, ESQ.
                                                     THOMAS H. PETERS, ESQ.
 2                                                   CORY M. BRENTE, ESQ.
 3                                                   COLLEEN R. SMITH, ESQ.

 4                                                  Attorneys for Defendants,
                                                    CITY OF LOS ANGELES
 5                                                  CHIEF CHARLIE BECK
 6
 7   Date: November 17, 2016 By: /s/ Thomas Hurrell, Esq. (authorized via email)
                                                THOMAS C. HURRELL, ESQ.
 8                                              WARREN M. WILLIAMS, ESQ.
                                                ANGELA Y. PARK, ESQ.
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                                                    Attorneys for Defendant,
10                                                  OFFICE CLIFFORD PROCTOR
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13   Date: November 17, 2016 By: /s/ Kenneth P. Korosi, Esq. (authorized via email)
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14                                               MARK D. RUTTER, ESQ.
                                                 JILL WILLIAMS, ESQ.
15                                               KENNETH P. KOROSI, ESQ.
16                                                Attorneys for Defendant
                                            OFFICER JONATHAN KAWARHARA
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     NOTICE OF SETTLEMENT AND STIPULATION TO VACATE ALL PENDING DATES; [PROPOSED]
                                       ORDER.
